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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

_________________________________________
NASSER AL-AULAQI.,

                       Plaintiff,
       v.                                                     No. 10-cv-1469 (JDB)

BARACK H. OBAMA, et al.,
                  Defendants.
_________________________________________


            DECLARATION OF SERVICE OF PROCESS ON THE
       UNITED STATES ATTOREY FOR THE DISTRICT OF COLUMBIA

       I, Arthur B. Spitzer, hereby certify that I am more than 18 years of age and not a
party to this action. I further certify that I personally made service of process upon the
United States Attorney for the District of Columbia by hand-delivering a copy of the
Summons and Complaint in this action to Ronald Nails, Docket Clerk, on Monday,
August 30, 2010, at approximately 1:40 p.m., at 501 3rd Street, N.W., Washington, D.C.
       I declare under penalty of perjury that the foregoing is true and correct.

       Executed this 30th day of August, 2010.


                                       /s/ Arthur B. Spitzer
                                       _________________________
                                       Arthur B. Spitzer (D.C. Bar No. 235960)
                                       American Civil Liberties Union of the Nation’s Capital
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